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FOR PUBLICATION

UNITED STATES COURT OF APPEALS

FOR THE NINTH CIRCUIT
GAVIN NEWSOM, In his official No. 25-3727
capacity as Governor of the State of
California, STATE OF 3. 9e eet.
CALIFORNIA, CRB
Plaintiffs - Appellees,
ORDER

Vv.

DONALD J. TRUMP, in his official
capacity as President of the United
States; PETER HEGSETH, in his
official capacity as Secretary of the
Department of Defense, UNITED
STATES DEPARTMENT OF
DEFENSE,

Defendants - Appellants.

Appeal from the United States District Court
for the Northern District of California
Charles R. Breyer, District Judge, Presiding

Argued and Submitted June 17, 2025
San Francisco, California

Filed June 19, 2025
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Before: Mark J. Bennett, Eric D. Miller, and Jennifer Sung,
Circuit Judges.

SUMMARY*

10 U.S.C. § 12406

The panel stayed pending appeal the district court’s
temporary restraining order (TRO) (1) enjoining the
President of the United States, the Secretary of Defense, and
the Department of Defense from deploying members of the
California National Guard in Los Angeles; and (2) directing
defendants to return control of the California National Guard
to California.

In response to disturbances in Los Angeles stemming
from federal enforcement of immigration laws, the President
on June 7, 2025, invoked 10 U.S.C. § 12406—and only that
statute—to order 4,000 members of the National Guard into
federal service for 60 days to protect federal personnel
performing federal functions and to protect federal
property. The statute authorizes the President to “call into
Federal service members and units of the National Guard of
any State” whenever one or more of three conditions are
satisfied.

The State of California and Governor Newsom sued
defendants in federal court, and upon plaintiffs’ application,
the district court granted a TRO, primarily because the

* This summary constitutes no part of the opinion of the court. It has
been prepared by court staff for the convenience of the reader.
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district court concluded that plaintiffs were likely to succeed
on their claim that the President’s order was ultra vires
because none of the predicates to federalization required
under § 12406 existed, and the order was not issued through
the Governor as the statute requires. Defendants
immediately appealed and filed an emergency motion to stay
the TRO pending appeal.

The panel held that it had jurisdiction under the All Writs
Act to grant a stay of the TRO pending appeal. Moreover,
because the TRO possessed the qualities of a preliminary
injunction, it was reviewable under 28 U.S.C. § 1292(a)(1).

In granting a stay pending appeal, the panel held that
defendants made the required strong showing that they were
likely to succeed on the merits of their appeal. Although the
panel disagreed with defendants’ primary argument that the
President’s decision to federalize members of the California
National Guard under § 12406 was completely insulated
from judicial review under the political question doctrine,
the panel was nonetheless persuaded that, under
longstanding precedent interpreting the _ statutory
predecessor to § 12406, a court’s review of that decision
must be highly deferential.

Affording the President that deference, the panel
concluded that it was likely that the President lawfully
exercised his statutory authority under § 12406(3), which
authorizes federalization of the National Guard when “the
President is unable with the regular forces to execute the
laws of the United States.” Defendants presented evidence
of protesters’ interference with the ability of federal officers
to execute the laws, including evidence that protesters threw
objects at Immigration and Customs Enforcement vehicles,
“pinned down” several Federal Protective Service officers
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defending federal property by throwing “concrete chunks,
bottles of liquid, and other objects,” and used “large rolling
commercial dumpsters as a battering ram” in an attempt to
breach the parking garage of a federal building. Plaintiffs’
own submissions stated that some protesters threw objects,
including Molotov cocktails, and _—_— vandalized
property. According to the declarations submitted by
defendants, these activities significantly impeded the ability
of federal officers to execute the laws. Under a highly
deferential standard of review, defendants presented facts
that permitted the panel to conclude that the President had a
colorable basis for invoking § 12406(3).

The Secretary of Defense’s transmittal of the order to the
Adjutant General of the California National Guard—who is
authorized under California law to “issue all orders in the
name of the Governor’—likely satisfied the statute’s
procedural requirement that federalization orders be issued
“through” the Governor. And even if there were a
procedural violation, that would not justify the scope of
relief provided by the district court’s TRO.

The panel’s conclusion that it was likely that the
President’s order federalizing members of the California
National Guard was authorized under § 12406(3) also
resolved plaintiffs’ Tenth Amendment claim because the
parties agreed that the Tenth Amendment claim turns on the
statutory claim. The panel concluded that the other stay
factors—irreparable harm to defendants, injury to plaintiffs,
and the public interest—weighed in defendants’ favor.
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COUNSEL

Samuel T. Harbourt (argued), Joshua Patashnik, and
Christopher D. Hu, Deputy Solicitors General; Haley
Amster and Cara Newlon, Associate Deputy Solicitors
General; Michael J. Mongan, Solicitor General; Megan H.
Strong, Megan A. Schultz Richards, Jane Reilley and
Nicholas R. Green, Deputy Attorneys General; Thomas S.
Patterson, Senior Assistant Attorney General Robin L.
Goldfaden; James E. Stanley, Anya Binsacca and John D.
Echeveria Supervising Deputy Attorney General; Rob Bonta
California Attorney General; California Department of
Justice, Office of the California Attorney General, San
Francisco, California; Laura L. Faer, Acting Senior
Assistant Attorney General, Nicholas D. Espiritu, Deputy
Attorney General; California Department of Justice Office
of the Attorney General, Oakland, California; Kendal L.
Micklethwaite, Deputy Assistant Attorney General,
California Department of Justice, Office of the California
Attorney General, Sacramento, California; Brendan
Hamme, Deputy Attorney General; Lorraine Lopez and
Marissa Malouff, Deputy Attorneys General, Public Rights
Division, Civil Rights Enforcement Section; California
Department of Justice, Office of the California Attorney
General, Los Angeles, California; for Plaintiffs-Appellees.

Brett A. Shumate (argued), Assistant Attorney General; Eric
D. McArthur, Deputy Assistant Attorney General; Sharon
Swingle, Anna O. Mohan and Mark R. Freeman, Attorneys;
Christopher D. Edelman, Trial Attorney; United States
Department of Justice, Washington, D.C.; for Defendants-
Appellants.

Mack E. Jenkins, Matthew J. Craig, Susan Har, Hecker Fink
LLP, Los Angeles, California; Beau Tremitiere and Kristy
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Parker, Protect Democracy United, Washington, D.C.; for
Amici Curiae Former U.S. Army and Navy Secretaries and
Retired Four-Star Admirals and Generals.

Hydee F. Soto, Valerie L. Flores, Michael Dundas, and
Shaun D. Jacobs, Attorneys, Los Angeles City Attorney
Office, Los Angeles, California; Norman L. Eisen, Stephen
A. Jonas, Joshua G. Kolb, and Diamond Brown, Democracy
Defenders Fund, Washington, D.C.; for Amicus Curiae City
of Los Angeles.

Yvonne R. Mere, David Chiu, Mollie M. Lee, Sara J.
Eisenberg, Nancy E. Harris, and Karun A. Tilak, Attorneys,
San Francisco City Attorney Office, San Francisco,
California, Alexandra Kliger, Jonathan Miller, and Jenny
Ma, Public Rights Project, Oakland, California; Cody S.
Harris, Sophie Hood, Anjali Srinivasan, Ian Kanig, Cara R.
Meyer, and Eliane Holmund, Keker, Van Nest & Peters
LLP, San Francisco, California; Yibin Shen, City Attorney,
Alameda, California, Lauren Keefe, City Attorney,
Albuquerque, New Mexico; Ebony M. Thompson, City
Solicitor, Baltimore City Department of Law, Baltimore,
Maryland; Megan B. Bayer, City Solicitor, Cambridge,
Massachusetts; Mary B. Richardson-Lowry, Corporation
Counsel, City of Chicago, Chicago, Illinois; Carlos
Pabellon, Corporation Counsel; David R. Gault, Deputy
Corporation Counsel, County of Dane Wisconsin, Madison,
Wisconsin; Alexandra B. Ruggie, Corporation Counsel, City
of Evanston, Evanston, Illinois; Leesa Manion, Prosecuting
Attorney for Martin Luther King, Jr. County, Seattle,
Washington; Kristyn Anderson, City Attorney, Minneapolis,
Minnesota; John P. Markovs, Montgomery County
Attorney, Rockville, Maryland; Patricia King, Corporation
Counsel, Office of New Haven Corporation Counsel, New
Haven, Connecticut; Krysia Kubiak, City Solicitor and Chief
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Legal Officer, City of Pittsburgh, Pittsburgh, Pennsylvania;
Susana A. Wood, City Attorney, Sacramento, California;
John D. Nibbelin, County Attorney for the County of San
Mateo, Redwood City, California; Tonry Lopresti, County
Counsel; Kavita Narayan, Chief Assistant County Counsel;
Meredith A. Johnson, Lead Deputy County Counsel for the
County of Santa Clara, San Jose, California; Douglas T.
Sloan, City Attorney, Santa Monica, California; Lauren
Langer, City Attorney for the City of West Hollywood, Best
Best & Krieger LLP, Los Angeles, California; for Amici
Curiae Local Governments and Local Government Leaders.

Patricio A. Marquez, Emily Nelson, Andrew Hughes, Alexia
Diorio, Assistant Attorneys General; Nicholas W. Brown,
Washington Attorney General; Office of the Attorney
General, Seattle, Washington; Rose E. Gibson, Assistant
Attorney General; Ian R. Liston, Director of Impact
Litigation; Kathleen Jennings, Delaware Attorney General;
Office of the Delaware Attorney General, Wilmington,
Delaware; Kristin K. Mayes, Arizona Attorney General,
Office of the Arizona Attorney General, Phoenix, Arizona;
Philip J. Weiser, Colorado Attorney General, Office of the
Colorado Attorney General, Denver, Colorado; William
Tong, Connecticut Attorney General, Office of the
Connecticut Attorney General, Hartford, Connecticut; Anne
E. Lopez, Hawai'i Attorney General, Hawai'i Office of the
Attorney General, Honolulu, Hawai'i; Kwame Raoul,
Illinois Attorney General, Office of the Illinois Attorney
General, Chicago, Illinois; Aaron M. Frey, Maine Attorney
General, Office of the Maine Attorney General, Augusta,
Maine; Anthony G. Brown, Maryland Attorney General,
Office of the Maryland Attorney General, Baltimore,
Maryland; Dana Nessel, Michigan Attorney General, Office
of the Michigan Attorney General, Lansing, Michigan; Keith
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Ellison, Minnesota Attorney General, Office of the
Minnesota Attorney General, St. Paul, Minnesota; Aaron D.
Ford, Nevada Attorney General, Office of the Nevada
Attorney General, Carson City, Nevada; Matthew J. Platkin,
New Jersey Attorney General, Office of the New Jersey
Attorney General, Trenton, New Jersey; Letitia James, New
York Attorney General, Office of New York Attorney
General, New York, New York; Jeff Jackson, North
Carolina Attorney General, Office of the North Carolina,
Raleigh, North Carolina; Dan Rayfield, Oregon Attorney
General, Office of Oregon Attorney General, Salem,
Oregon; Peter F. Neronha, Rhode Island Attorney General,
Office of Rhode Island Attorney General, Providence,
Rhode Island; Charity R. Clark, Vermont Attorney General,
Office of the Vermont Attorney General, Montpelier,
Vermont; Joshua L. Kaul, Wisconsin Attorney General,
Office of the Wisconsin Attorney General, Madison,
Wisconsin; Justin Whitten, Attorney for Governor Kelly,
Office of the Governor of Kansas, Topeka, Kansas; for
Amici Curiae Washington, Delaware, Arizona, Colorado,
Connecticut, Hawai'i, Illinois, Maine, Maryland, Michigan,
Minnesota, Nevada, New Jersey, New York, North Carolina,
Oregon, Rhode Island, Vermont, Wisconsin, and the Office
of the Governor of Kansas.

Brandon V. Stracener Sr. and David A. Carrillo, University
of California, Berkeley School of Law, Berkeley, California,
for Amicus Curiae California Constitution Scholars.

Andrew G. Watters, Redwood City, California, for Amicus
Curiae Blue Eagle Coalition.
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PER CURIAM:

In 10 U.S.C. § 12406, Congress authorized the President
of the United States to “call into Federal service members
and units of the National Guard of any State” whenever one
or more of three conditions are satisfied. In response to
disturbances in Los Angeles stemming from federal
enforcement of immigration laws, the President invoked
§ 12406—and only that statute—to order 4,000 members of
the National Guard into federal service for 60 days to protect
federal personnel performing federal functions and to protect
federal property.

The State of California and its Governor, Gavin
Newsom, sued the President, the Secretary of Defense, and
the Department of Defense in federal court. Plaintiffs
alleged that Defendants’ actions were ultra vires and violated
the Tenth Amendment to the United States Constitution.
They also alleged that the Secretary of Defense and the
Department of Defense violated the Administrative
Procedure Act (APA).

Plaintiffs applied for a temporary restraining order
(TRO), and, after a hearing, the district court issued a TRO
enjoining Defendants “from deploying members of the
California National Guard in Los Angeles” and directing
Defendants “to return control of the California National
Guard to Governor Newsom.” The district court issued the
TRO primarily because it concluded that Plaintiffs are likely
to succeed on their claim that the President’s order
federalizing members of the California National Guard is
ultra vires because none of the predicates to federalization
required under § 12406 exist and because the federalization
order was not issued “through the governor[]’ of California,
as the statute requires. Notably, Plaintiffs conceded that
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National Guard members, if validly federalized, may be
deployed to protect federal personnel and property. The
district court determined that Plaintiffs presented no
evidence at the TRO hearing that National Guard members
were engaged in any other activities, and Plaintiffs do not
contest that determination.

Defendants immediately appealed the TRO and filed an
emergency motion to stay the TRO pending appeal. We
issued an administrative stay of the district court’s order
pending our adjudication of Defendants’ emergency motion
for a stay.

We now grant the stay. Defendants have made the
required strong showing that they are likely to succeed on
the merits of their appeal. We disagree with Defendants’
primary argument that the President’s decision to federalize
members of the California National Guard under 10 U.S.C.
§ 12406 is completely insulated from judicial review.
Nonetheless, we are persuaded that, under longstanding
precedent interpreting the statutory predecessor to § 12406,
our review of that decision must be highly deferential.
Affording the President that deference, we conclude that it is
likely that the President lawfully exercised his statutory
authority under § 12406(3), which authorizes federalization
of the National Guard when “the President is unable with the
regular forces to execute the laws of the United States.”
Additionally, the Secretary of Defense’s transmittal of the
order to the Adjutant General of the California National
Guard—who is authorized under California law to “issue all
orders in the name of the Governor,” CAL. MIL. & VET. CODE
§ 163—likely satisfied the statute’s procedural requirement
that federalization orders be issued “through” the Governor.
And even if there were a procedural violation, that would not
justify the scope of relief provided by the district court’s
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TRO. Our conclusion that it is likely that the President’s
order federalizing members of the California National Guard
was authorized under § 12406(3) also resolves the Tenth
Amendment claim because the parties agree that the Tenth
Amendment claim turns on the statutory claim.

We also conclude that the other stay factors—irreparable
harm to Defendants, injury to Plaintiffs, and the public
interest—weigh in Defendants’ favor. Thus, we grant the
motion for a stay pending appeal.

I. BACKGROUND AND PROCEDURAL HISTORY

On June 6, 2025, a group of protesters tried to prevent
Immigration and Customs Enforcement (ICE) officials from
operating in Los Angeles by throwing objects at ICE
vehicles. Later that evening, protesters gathered at ICE’s
Enforcement and Removal Operations (ERO) building in
downtown Los Angeles. Protesters “pinned down” several
Federal Protective Service (FPS) officers and threw
“concrete chunks, bottles of liquid, and other objects” at the
officers. The protesters used “large rolling commercial
dumpsters as a battering ram to breach the parking garage
gate and damage[] federal property.” The Los Angeles
Police Department arrived on the scene about an hour after
being called by federal officers. The protesters eventually
dispersed at law enforcement’s direction, but the federal
building had been heavily vandalized.

The next day, on June 7, protesters continued to interfere
with federal enforcement operations by a Homeland Security
Investigations Office in Paramount, California, and
continued to damage federal property. In a confrontation
that lasted over seven hours, the protesters blocked traffic
and used shopping carts to barricade the street. Some
attacked ERO and Customs and Border Patrol (CBP) officers
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by “box[ing] in” the officers and “throwing mortar-style
fireworks with multiple explosions” at them. Other
protesters “engage[d] in dangerous behavior such as
throwing rocks and other objects, including a Molotov
Cocktail at deputies,” “burning a vehicle,” and “vandalizing
property.” One ERO officer was trapped in her law
enforcement vehicle while protesters surrounded it, violently
pounded and shook it, and threw stones at it. One CBP
officer suffered a shattered wrist caused by a thrown object.
Protesters also damaged the perimeter fence of a federal
building and three government vehicles.

In response to these incidents, the President signed a
memorandum on June 7, 2025, calling into federal service at
least 2,000 members of the National Guard pursuant to his
authority under 10 U.S.C. § 12406. The memorandum
explained that the service members were needed “to
temporarily protect ICE and other United States Government
personnel who are performing Federal functions, including
the enforcement of Federal law, and to protect Federal
property.” The President’s memorandum directed the
Secretary of Defense “to coordinate with the Governors of
the States and the National Guard Bureau in identifying and
ordering into Federal service the appropriate members and
units of the National Guard.”

Later that evening, the Secretary of Defense sent a
memorandum to California’s Adjutant General to effectuate
the President’s memorandum. This memorandum was titled,
“Memorandum for Adjutant General of the California
National Guard Through: The Governor of California,” and
it enclosed a copy of the President’s memorandum. The
Secretary's memorandum called into service 2,000
California National Guard members for 60 days. The
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Adjutant General forwarded both memoranda to Governor
Newsom.

Protests against federal officers continued into the
following days. For example, during the night of June 8,
protesters in downtown Los Angeles “set[] off commercial-
grade fireworks toward federal officers and thr[ew] objects
at passing law enforcement vehicles.” They lit fires in
dumpsters and “vandalized dozens of buildings with graffiti,
including the Federal Courthouse.” On June 9, a crowd of
1,000 protesters gathered near a federal building. One
protester drove by the building and fired paintballs at FPS
officers, hitting at least one in the head and neck. At another
federal building, protesters attacked a federal van carrying
multiple non-citizens and officers, rocking the vehicle and
smashing its windows. The building had to be closed for
most of the day and remained closed the next day, disrupting
the operations of many federal agencies working in the
building.

On June 9, in response to these events, the Secretary
issued a second memorandum, calling into service an
additional 2,000 members of the California National Guard
for 60 days. That day, Plaintiffs filed suit against
Defendants. The complaint asserts ultra vires, Tenth
Amendment, and APA claims, all primarily based on the
allegation that Defendants unlawfully called into federal
service members of the California National Guard. The
complaint seeks declaratory and injunctive relief.

On June 10, Plaintiffs moved for a TRO. Plaintiffs
asserted that they were “likely to suffer several types of
irreparable harm in the absence of temporary relief,”
highlighting as a “stand[] out” harm “the very high risk of
substantial civil unrest as a direct result” of Defendants’
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deployment of the National Guard. Plaintiffs argued that the
use of the National Guard “serves only to spread fear and
heighten tensions in Los Angeles” and would “further de-
stabilize the community.” Plaintiffs also urged that the
deployment of the National Guard “diverts necessary state
resources” because National Guard members help fight
forest fires, stop drug trafficking, and protect against cyber
threats.

Defendants opposed the motion, and the district court
held a hearing on June 12. The district court granted the
TRO that same day. Responding to Defendants’ argument
that the President’s decision to federalize members of the
California National Guard was not justiciable, the district
court concluded that neither the political question doctrine
nor § 12406 itself precluded judicial review, but that it must
give deference to the President’s factual assertions. On the
merits of Plaintiffs’ ultra vires claim, the parties agreed that
the questions presented were whether the President had
statutory authority to federalize National Guard members
under either § 12406(2) or (3).!_ The district court then
determined that Plaintiffs were likely to succeed on their
ultra vires claim because the conditions for federalization
under those subsections were not satisfied, and because the
federalization order was not issued “through the governor[]”
of California, as the statute requires. Based on its conclusion
that the President acted without statutory authority, the
district court also concluded that Plaintiffs were likely to
succeed on their Tenth Amendment claim.? The district
court declined to address Plaintiffs’ ultra vires claim based

' Plaintiffs have not argued that the President invoked only one
subsection or the other.

? Plaintiffs did not rely on their APA claim in seeking the TRO.
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on the Posse Comitatus Act, see 18 U.S.C. § 1385, because
Plaintiffs conceded that using federal forces to protect
federal personnel and property would not violate the Posse
Comitatus Act and because Plaintiffs presented no evidence
that National Guard members were engaged in any other
activities. The district court underscored that “Plaintiffs
dlid] not [yet] contend that National Guard members have in
fact participated in any arrests” in violation of the Posse
Comitatus Act but noted that Plaintiffs could continue to
pursue that claim, including by presenting any additional
evidence at the upcoming preliminary injunction hearing.

The district court then found that Plaintiffs had suffered
irreparable injury and that the public interest and balance of
the equities tipped in their favor. The district court
concluded that while “Defendants no doubt have an ‘interest
in protecting federal agents and property’” (quoting /ndex
Newspapers LLC v. U.S. Marshals Serv., 977 F.3d 817, 838
(9th Cir. 2020)), “[f]ederal agents and property may actually
well be served by de-militarization and a concurring de-
escalation of the situation.” The district court concluded that
the deployment of the National Guard “inflames tensions
with protesters” and “deprives the state for two months of its
own use of thousands of National Guard members to fight
fires, combat the fentanyl trade, and perform other critical
functions.” The district court’s order temporarily
enjoined—with no end date—Defendants “from deploying
members of the California National Guard in Los Angeles”
and directed Defendants “to return control of the California
National Guard to Governor Newsom.” The district court
stayed its order until noon on June 13, 2025, and set a
preliminary injunction hearing for June 20, 2025.

Defendants immediately filed a notice of appeal and
moved for an emergency stay pending appeal. As noted, we
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issued an administrative stay of the TRO. We held oral
argument on June 17, 2025.3

Il. APPELLATE JURISDICTION

Ordinarily, we lack jurisdiction over the appeal of a
TRO. See E. Bay Sanctuary Covenant v. Trump, 932 F.3d
742, 762 (9th Cir. 2018). At this time, however, we are not
considering an appeal of a TRO, but rather, Defendants’
motion for a stay of the TRO pending appeal. We have
jurisdiction to grant such a stay under the All Writs Act, 28
U.S.C. § 1651.

Nonetheless, Plaintiffs argue that we should not grant the
stay because there are “serious questions” as to whether we
would have jurisdiction to review the district court’s
issuance of a TRO. Although Plaintiffs’ argument goes to
the merits of Defendants’ motion for a stay, not our
jurisdiction, we address it here.

As noted, we generally lack jurisdiction over the appeal
of a TRO. But when a TRO “possesses the qualities of a
preliminary injunction,” it is reviewable under 28 U.S.C.
§ 1292(a)(1). Serv. Emps. Int’l Union v. Nat'l Union of
Healthcare Workers, 598 F.3d 1061, 1067 (9th Cir. 2010);
see Dep't of Educ. v. California, 145 S. Ct. 966, 968 (2025)
(per curiam).

In assessing whether a TRO is best construed as an
appealable preliminary injunction, we evaluate whether “an
adversary hearing has been held, and [whether] the court’s
basis for issuing the order [was] strongly challenged.” F.
Bay, 932 F.3d at 762 (quoting Bennett v. Medtronic, Inc.,

3 We grant amici curiae’s motions for leave to file amicus briefs. Dkt.
Nos. 17, 18, 20, 21, 22, 24.
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285 F.3d 801, 804 (9th Cir. 2002)). “Likewise, where the
duration of the order exceeds the ordinary duration for TROs
as set forth in the Federal Rules of Civil Procedure,
classification as a TRO is unlikely.” Serv. Emps., 598 F.3d
at 1067. A TRO may also be appealable when it “has the
‘practical effect’ of granting or denying an injunction.”
Abbott v. Perez, 585 U.S. 579, 594 (2018) (quoting Carson
v. Am. Brands, Inc., 450 U.S. 79, 83 (1981)).

The TRO here “possesses the qualities of a preliminary
injunction.” Serv. Emps., 598 F.3d at 1067. The district
court issued the TRO after an adversarial hearing at which
Defendants challenged the basis for the order. That hearing
came after the parties filed extensive written materials
challenging the district court’s basis for the order. Plaintiffs
moved for a TRO, Defendants filed an opposition, and
Plaintiffs filed a reply. Moreover, while the district court has
scheduled a hearing for June 20, 2025, to determine whether
it should issue a preliminary injunction, the TRO does not
automatically expire on that date, so it could be in force for
more than 14 days.

The TRO also has the practical effect of a preliminary
injunction. It enjoined Defendants from deploying members
of the National Guard in Los Angeles and directed return of
control of the National Guard to Plaintiffs. President Trump
determined that he could not “ensure the protection and
safety of Federal personnel and property” without using the
National Guard. If Defendants are not allowed to appeal the
TRO, they “would be effectively foreclosed from pursuing
further interlocutory relief’ because the National Guard
could not be used to protect federal property and agents.
Env’t Def. Fund, Inc. v. Andrus, 625 F.2d 861, 862 (9th Cir.
1980).
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On these facts, we conclude that the district court’s order
is effectively a preliminary injunction. Consequently, issues
of appellate jurisdiction do not affect the likelihood of
Defendants’ success on their appeal from the TRO.

It. STANDARD OF REVIEW

We review Defendants’ request for a stay pending appeal
using the “traditional stay factors.” Nken v. Holder, 556 US.
418, 426 (2009). Thus, we consider “(1) whether the stay
applicant has made a strong showing that he is likely to
succeed on the merits; (2) whether the applicant will be
irreparably injured absent a stay; (3) whether issuance of the
stay will substantially injure the other parties interested in
the proceeding; and (4) where the public interest lies.” Jd.
(quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).
“The first two factors .. . are the most critical.” /d. at 434.

IV. DISCUSSION
A. Likelihood of Success

In determining whether Defendants have made a strong
showing that they are likely to succeed on the merits of their
appeal of the TRO, we address only the issues that the
district court resolved in granting the TRO. Defendants
argue the district court erred in concluding that Plaintiffs’
ultra vires claim is justiciable. Defendants also argue that
the district court erred in concluding that Plaintiffs were
likely to succeed on the merits of their claim that the
President’s order federalizing California National Guard
members was not authorized under § 12406. The parties
agree that Plaintiffs’ Tenth Amendment claim, at this stage,
rises and falls with their ultra vires claim based on § 12406.
In opposing the stay, Plaintiffs do not press their claims
based on the Posse Comitatus Act or the APA.
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Consequently, the parties’ disputes about how federal forces
are being deployed are not before us.

1. The President’s Authority Under § 12406
a. Political Question Doctrine

Defendants argue that the claim challenging the
President’s order federalizing members of the National
Guard under § 12406 is not justiciable under the political
question doctrine. We disagree.

“In general, the Judiciary has a responsibility to decide
cases properly before it, even those it ‘would gladly avoid.’”
Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189, 194
(2012) (quoting Cohens v. Virginia, 19 U.S. (6 Wheat.) 264,
404 (1821)). There is “a narrow exception to that rule,
known as the ‘political question’ doctrine.” /d. at 195. “The
nonjusticiability of a political question is primarily a
function of the separation of powers.” Baker v. Carr, 369
U.S. 186, 210 (1962).

Because the political question doctrine is grounded in the
constitutional separation of powers, it has traditionally been
limited to constitutional cases. See El-Shifa Pharm. Indus.
Co. v. United States, 607 F.3d 836, 856 (D.C. Cir. 2010)
(Kavanaugh, J., concurring in the judgment) (“[T]he
Supreme Court has invoked the political question doctrine
only in cases alleging violations of the Constitution.”). It has
not been available in statutory cases. Applying it in statutory
cases would “systematically favor” the President over
Congress by ignoring the limitations that the latter placed on
the former’s authority, threatening the very separation of
powers that the doctrine is meant to protect. /d. at 857.
Thus, to determine whether the political question doctrine
precludes judicial review, we must first determine whether
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the President’s authority to federalize National Guard
members is constitutional or statutory. We conclude it is
statutory.

The Constitution provides that “[t]he President shall be
Commander in Chief. . . of the Militia of the several States,
when called into the actual Service of the United States.”
U.S. Const. art. II, § 2, cl. 1 (emphasis added). But the
Constitution authorizes Congress, not the President, to
determine when (and how) the militia can be called into
actual service of the United States: pursuant to the “Militia
Clauses,” Congress has the power “[t]o provide for calling
forth the Militia to execute the Laws of the Union, suppress
Insurrections and repel Invasions,” as well as the power “[t]o
provide for organizing, arming, and disciplining, the Militia,
and for governing such Part of them as may be employed in
the Service of the United States.” /d. art. I, § 8, cls. 15-16.
Congress has delegated some of its power to call forth the
militia to the President by statute, including 10 U.S.C.
§ 12406, which authorizes the President to “call into federal
service members and units of the National Guard of any
state” under specified exigent circumstances. Both parties
agree that calling members of a state’s National Guard “into
federal service” is the legal equivalent of “calling forth the
Militia.”

At various points in this litigation, Defendants have
referred to the President’s “inherent constitutional
authority.” But Defendants represented to the district court
that they are not arguing that President Trump exercised
“some other independent Article II authority’—trather, as
Defendants acknowledged, “[t]he only authority the
president invoked was this particular statute,” that is,
§ 12406. Defendants thus do not argue that the President’s
inherent authority, whatever its scope, would allow him to
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“take[] measures incompatible with the expressed or implied
will of Congress” reflected in that statute. Youngstown Sheet
& Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952) (Jackson,
J., concurring). The source of the President’s power to
federalize the National Guard is statutory, not constitutional.

Consequently, the political question doctrine does not
bar judicial review.

b. Statutory Scope of Review

The question we must answer is: To what extent has
Congress, in § 12406, committed the challenged decision to
the President’s discretion? This question is purely a matter
of statutory interpretation, and it is justiciable. See, e.g.,
Trump v. J.G.G., 145 8. Ct. 1003, 1006 (2025) (per curiam)
(explaining that “questions of interpretation” of statutes fall
within our purview (quoting Ludecke v. Watkins, 335 U.S.
160, 163 (1948))). After all, it remains “emphatically the
province and duty of the judicial department to say what the
law is.” Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177
(1803). This includes “determining the limits of statutory
grants of authority,” Stark v. Wickard, 321 U.S. 288, 310
(1944), and “determin[ing] whether [a government official]
did exceed his powers” granted by the statute, Harmon v.
Brucker, 355 U.S. 579, 582 (1958) (per curiam).

“As with any question of statutory interpretation, our
analysis begins with the plain language of the statute.”
Jimenez v. Quarterman, 555 U.S. 113, 118 (2009).
“Interpretation of a word or phrase depends upon reading the
whole statutory text, considering the purpose and context of
the statute, and consulting any precedents or authorities that
inform the analysis.” Dolan v. U.S. Postal Serv., 546 US.
481, 486 (2006).
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The statute provides:

Whenever—

(1) the United States, or any of the
Commonwealths or possessions, is
invaded or is in danger of invasion by
a foreign nation;

(2) there is a rebellion or danger of a
rebellion against the authority of the
Government of the United States; or

(3) the President is unable with the
regular forces to execute the laws of
the United States;

the President may call into Federal service
members and units of the National Guard of
any State in such numbers as he considers
necessary to repel the invasion, suppress the
rebellion, or execute those laws. Orders for
these purposes shall be issued through the
governors of the States or, in the case of the
District of Columbia, through the
commanding general of the National Guard
of the District of Columbia.

10 U.S.C. § 12406.

Defendants argue that this language precludes review.
They rely on Dalton v. Specter, 511 U.S. 462 (1994), for the
proposition that whenever a_ statute “commits
decisionmaking to the discretion of the President, judicial
review of the President’s decision is not available.” /d. at
477. In Dalton, the Act in question, concerning the closure
of military bases, “authorized unfettered discretion by the
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President to either approve or disapprove the package of
base closures” proposed by an independent commission.
Sierra Club vy. Trump, 929 F.3d 670, 696 (9th Cir. 2019); see
Defense Base Closure and Realignment Act of 1990, Pub. L.
No. 101-510, § 2903(e)(1), 104 Stat. 1808, 1812 (“The
President shall... transmit to the Commission and to the
Congress a report containing the President’s approval or
disapproval of the Commission’s recommendations.”).
Because “the Act... d[id] not by its terms circumscribe the
President’s discretion to approve or disapprove the
Commission’s report,” the Court concluded that the
President’s decision was “not reviewable” for abuse of
discretion. 511 U.S. at 470; see id. at 474-76.

Unlike in Dalton, the statute here enumerates three
predicate conditions for the President’s decision to call forth
the National Guard. As the district court explained, the text
of the statute does not make the President the sole judge of
whether one or more of the statutory preconditions exist. See
10 U.S.C. § 12406. Thus, we disagree with Defendants’
contention that § 12406 completely precludes judicial
review of the President’s determination that a statutory
precondition exists.

However, that leaves the question whether we owe that
determination deference, and if so, how much? Again, that
is a question of statutory interpretation. And if we were
considering the text of § 12406 alone, we might conclude
that the President’s determination is subject to review like
certain other factual findings that are preconditions for
executive action under a statute. See Doe #1 v. Trump, 957
F.3d 1050, 1066—67 (9th Cir. 2020).

But we are not writing on a blank slate. The history of
Congress’s statutory delegations of its calling forth power,
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and a line of cases beginning with Martin v. Mott, 25 US.
(12 Wheat.) 19 (1827), interpreting those delegations,
strongly suggest that our review of the President’s
determinations in this context is especially deferential.

Congress first delegated its constitutional calling forth
power to the President in the Militia Act of 1792, see ch. 28,
§§ 1-2, 1 Stat. 264, 264 (repealed 1795). Congress renewed
that delegation in the Militia Act of 1795, see ch. 36, § 1, 1
Stat. 424, 424. The 1795 Act was a precursor to the Militia
Act of 1903, see Pub. L. No. 57-33, §§ 1, 4, 32 Stat. 775,
775-76, which is a precursor to § 12406. See Frederick
Bernays Wiener, The Militia Clause of the Constitution, 54
Harv. L. REV. 181, 186-88 (1940).

And like § 12406, the 1795 Act contained a predicate
“invasion” condition: “[W]henever the United States shall
be invaded, or be in imminent danger of invasion... ., it
shall be lawful for the President of the United States to call
forth such number of the militia...as he may judge
necessary to repel such invasion.” Militia Act of 1795, ch.
36, §1, 1 Stat. 424, 424: cf 10 USC. § 12406
(“Whenever[] ... the United States ...is invaded or is in
danger of invasion... , the President may call into Federal
service members and units of the National Guard of any
State in such numbers as he considers necessary to repel the
invasion... .”).

The Supreme Court interpreted the Militia Act of 1795
in Martin, which arose out of President Madison’s decision
to call the New York militia into federal service during the
War of 1812. See 25 U.S. at 28. Jacob Mott, a New York
militiaman, refused to turn up for service. He was court-
martialed and fined, and the State seized his property to
satisfy the debt. Mott then brought an action for replevin in
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state court, arguing that the seizure was illegal because
President Madison’s order federalizing the militia was
invalid. See id.

The Supreme Court rejected that argument. The Court
began by explaining that the Constitution gave the calling
forth power to Congress, but Congress “confided” that
power to the President when the “exigency” of an invasion
“has arisen.” Jd. at 29. The Court first recognized that the
delegated power was, “in its terms, a limited power, confined
to cases of actual invasion, or of imminent danger of
invasion.” /d. The Court then framed the issue presented as:

If it be a limited power, the question arises,
by whom is the exigency to be judged of and
decided? Is the President the sole and
exclusive judge whether the exigency has
arisen, or is it to be considered as an open
question, upon which every officer to whom
the orders of the President are addressed, may
decide for himself, and equally open to be
contested by every militia-man who shall
refuse to obey the orders of the President?

Id. at 29-30. The Court answered that question by stating
that “the authority to decide whether the exigency has arisen,
belongs exclusively to the President, and that his decision is
conclusive upon all other persons.” /d. at 30. In reaching
that conclusion, the Court relied in part on the nature of a
foreign invasion and the need for military subordinates to
follow orders. See id. In particular, because “[t]he power
itself is to be exercised upon sudden emergencies, upon great
occasions of state, and under circumstances which may be
vital to the existence of the Union,” the Court reasoned that
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“every delay, and every obstacle to an efficient and
immediate compliance, necessarily tend[s] to jeopard[ize]
the public interests.” Jd.

The Court then explained that “the language of the act of
1795” supported its “conclusion drawn from the nature of
the [delegated] power itself.” /d. at 31. The Court followed
the “sound rule of construction” that “[w]henever a statute
gives a discretionary power to any person, to be exercised by
him upon his own opinion of certain facts, ... the statute
constitutes him the sole and exclusive judge of the existence
of those facts.” /d. at 31-32 (emphasis added). The Court
further explained that although the power delegated to the
President under the Militia Act is “susceptible of abuse,” the
“remedy for this” is political: “in addition to the high
qualities which the Executive must be presumed to possess,
of public virtue, and honest devotion to the public interests,”
itis “the frequency of elections, and the watchfulness of the
representatives of the nation” that “carry with them all the
checks which can be useful to guard against usurpation or
wanton tyranny.” Jd. at 32.

Plaintiffs correctly note that some of the Martin Court’s
reasoning addressed factual circumstances of that case that
are not present here: particularly the Court’s consideration
of the nature of a foreign invasion and concerns about
militiamen disobeying orders. See id. at 29 (explaining that
the 1795 Act considers an “invasion from any foreign nation
or Indian tribe”); id. at 30 (‘A prompt and unhesitating
obedience to orders is indispensable to the complete
attainment of the object.”). Still, for the following reasons,
we conclude that, under Martin and its progeny, we must
give a great level of deference to the President’s
determination that a predicate condition exists.
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First, much of the Court’s reasoning in Martin appears
equally applicable regardless of the case’s particular facts.
See, e.g., id. at 30 (explaining that the President’s power to
command the militia “in times of insurrection and invasion,
are... natural incidents to the duties of superintending the
common defence, and of watching over the infernal peace of
the confederacy” (emphasis added) (quoting THE
FEDERALIST No. 29 (Alexander Hamilton))).

Second, if Congress had disagreed with the Martin
Court’s interpretation of the 1795 Act, it could have
amended the statute to provide for greater judicial review of
the existence of a predicate condition. Congress did not do
so at the time, and since then, Congress has modified the
statutory delegations of the calling forth power in various
ways, but the text of § 12406 is, in several material respects,
the same as the text quoted in Martin. See 10 U.S.C. § 12406
(“Whenever[] ... the United States ...is invaded or is in
danger of invasion... , the President may call into Federal
service members and units of the National Guard of any
State in such numbers as he considers necessary to repel the
invasion... .”). “We presume that Congress is aware of pre-
existing judicial interpretations of statutory language it
replicates in later statutes, and that it seeks to import those
interpretations into the new statute.” United States v. Novak,
476 F.3d 1041, 1051 (9th Cir. 2007) (en banc) (citing
Cannon v. Univ. of Chi., 441 U.S. 677, 696-98 (1979)). Of
course, Congress still has the prerogative to change the
delegation of the calling forth power, and the nature of
judicial review of any exercise of that statutory authority.

Third, the Supreme Court has not understood Martin to
be a narrow decision addressing only the military chain of
command. In Luther v. Borden, 48 U.S. (7 How.) 1 (1849),
the Supreme Court evaluated an action for trespass that
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turned on which of two factions was the legitimate
government of Rhode Island. /d at 34-35. During the
dispute, President Tyler concluded that there was enough
unrest to invoke the promise of federal protection against
“domestic Violence” in the Guarantee Clause. See Stephen
I. Vladeck, Note, Emergency Power and the Militia Acts,
114 YALEL.J. 149, 172 (2004); U.S. Const. art. IV, § 4. The
President’s ability to call forth the militia to offer that
protection came from the Militia Act of 1795, which
permitted him to do so “in case of an insurrection in any
State against the government thereof.” Luther, 48 U.S. at 43
(quoting Militia Act of 1795, ch. 36, § 1, 1 Stat. 424, 424).
And, relying on Martin, the Court explained that the 1795
Act gave “the power of deciding whether the exigency had
arisen... to the President.” /d.; see id. at 44-45 (citing
Martin, 25 U.S. at 29-31). The Court made clear that the
President’s authority was preclusive. See id. at 43 (‘After
the President has acted and called out the militia, 1s a Circuit
Court of the United States authorized to inquire whether his
decision was right? ... If the judicial power extends so far,
the guarantee contained in the Constitution of the United
States is a guarantee of anarchy, and not of order.”).

That view of Martin has remained the settled
understanding of the Supreme Court and among legal
scholars. See Zivotofsky, 566 U.S. at 205-06, 206 n.1
(Sotomayor, J., concurring in part and concurring in the
judgment) (citing Martin for the proposition that “courts are
particularly ill suited to intervening in exigent disputes
necessitating unusual need for ‘attributing finality to the
action of the political departments’” (quoting Coleman v.
Miller, 307 U.S. 433, 454 (1939))); Vladeck, supra, at 172
(“Per the Mott Court, then, the 1795 Militia Act granted
broad power to the Executive to determine, for himself,
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when circumstances necessitated the calling forth of the
militia, and such a determination was not subject to judicial
review.”); Elizabeth Goitein & Joseph Nunn, An Army
Turned Inward: Reforming the Insurrection Act to Guard
Against Abuse, 13 J. NAT’L SEC. L. & POL’ y 355, 394 (2023)
(citing Martin and explaining that “[i]n cases involving the
Insurrection Act’s precursor laws [including the Militia Act
of 1795], the Supreme Court held that courts could not
review the president’s determination that an exigency
existed that required the deployment of military troops”).
Given the closely related nature of the statutes, Martin
requires that the President’s determination that an exigency
exists be given significant deference.

Fourth, we recognize that Martin concerned a question
that directly implicated foreign policy, while this case
implicates the President’s domestic use of military force, and
that as a general rule, we afford the President greater latitude
in the former context. Cf Doe, 957 F.3d at 1066-67
(explaining, for example, that the President’ s “power is more
circumscribed when he addresses a purely domestic
economic issue”). However, § 12406 is not limited to the
domestic use of military force. Rather, the statute also
permits the President to federalize the National Guard
“Tw]henever[]... the United States ... is invaded or is in
danger of invasion by a foreign nation.” 10 U.S.C. § 12406.
We see no reason that Congress would have intended for the
President to receive significant deference when he invokes
the first precondition in § 12406, but not when he invokes
the other two. Moreover, California’s contention is undercut
by Luther, which relied heavily on Martin when evaluating
the deference due to the President when he invoked the 1795
Act in a purely domestic dispute. See 48 U.S. at 44-45
(citing Martin, 25 U.S. at 29-31).
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California emphasizes that Martin is nearly 200 years
old, and that it is in some tension with more recent decisions
about the reviewability of executive determinations—even
determinations about questions such as the existence of an
invasion. See J.G.G., 145 S. Ct. at 1006 (“[W]e have held
that an individual subject to detention and removal under
[the Alien Enemies Act] is entitled to ‘judicial review’ as to
‘questions of interpretation and constitutionality’ of the Act
.... (quoting Ludecke, 335 U.S. at 163)); Kucana y.
Holder, 558 U.S. 233, 251 (2010) (“When a statute is
‘reasonably susceptible to divergent interpretation, we adopt
the reading that accords with traditional understandings and
basic principles: that executive determinations generally are
subject to judicial review.’” (quoting Gutierrez de Martinez
v. Lamagno, 515 U.S. 417, 434 (1995))). But Martin’s
continuing viability is not for us to decide. The Supreme
Court has admonished that “[i]f a precedent of this Court has
direct application in a case, yet appears to rest on reasons
rejected in some other line of decisions, the Court of Appeals
should follow the case which directly controls, leaving to
this Court the prerogative of overruling its own decisions.”
Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490 U.S.
477, 484 (1989); accord Tenet v. Doe, 544 U.S. 1, 10-11
(2005).

All that said, Martin does not compel us to accept the
federal government’s position that the President could
federalize the National Guard based on no evidence
whatsoever, and that courts would be unable to review a
decision that was obviously absurd or made in bad faith. In
Martin, the Court addressed the argument that “the power
confided to the President is a limited power” that “can be
exercised only in the cases pointed out in the statute,” and
the Court explained that “[w]hen the President exercises an
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authority confided to him by law, the presumption is that it
is exercised in pursuance of law.” /d. at 32-33. As the Court
noted in Martin, a “public officer is presumed to act in
obedience to his duty” only “until the contrary is shown.”
Id. at 33. Moreover, discussing Martin, the Supreme Court
has observed that “[t]he nature of the power also necessarily
implies that there is a permitted range of honest judgment as
to the measures to be taken in meeting force with force, in
suppressing violence and restoring order,” and that “[sJuch
measures, conceived in good faith, in the face of the
emergency and directly related to the quelling of the disorder
or the prevention of its continuance, fall within the discretion
of the Executive in the exercise of his authority to maintain
peace.” Sterling v. Constantin, 287 U.S. 378, 399-400
(1932) (emphases added); see Panama Refin. Co. v. Ryan,
293 US. 388, 446 (1935) (Cardozo, J., dissenting) (“A court
will not revise the discretion of the Executive, sitting in
judgment on his order as if it were the verdict of a
jury. Martin v. Mott, supra. On the other hand, we have
said that his order may not stand if it is an act of mere
oppression, an arbitrary fiat that overleaps the bounds of
judgment.”). Consistent with Martin, courts may at least
review the President’s determination to ensure that it reflects
a colorable assessment of the facts and law within a “range
of honest judgment.” Sterling, 287 U.S. at 399.

At this preliminary stage of the litigation, we need not
further specify the precise standard that governs our review.

c. Application

With those principles in mind, we consider whether the
President exceeded the limits of his statutory grant of
authority under § 12406. We start with § 12406(3): “the
President is unable with the regular forces to execute the
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laws of the United States.” 10 U.S.C. § 12406(3). Because
that provision is sufficient to allow us to conclude that
Defendants are likely to prevail in this litigation, we do not
reach the other condition invoked by the President,
§ 12406(2), concerning “rebellion.”

The district court interpreted § 12406(3) as requiring
total or near total interference. It stated:

[T]he statute does not allow for the
federalizing of the National Guard when the
President faces obstacles that cause him to
underperform in executing the laws. Nor
does the statute allow for the federalizing of
the National Guard when the President faces
some risk in executing the laws.... The
statute requires that the President be “unable”
to execute the laws of the United States. That
did not happen here.

But as Defendants correctly argue, “Section 12406(3)
cannot plausibly be read to mean that so long as some
amount of execution of the laws remains possible, the statute
cannot be invoked, regardless of how much execution of the
laws remains thwarted or how much personal danger federal
personnel face during operations,” or that “so long as any
quantum of federal law enforcement could be accomplished
in the face of mob violence,” “the President would be unable
to call up the Guard to respond.” Section 12406 does not
have as a prerequisite that the President be completely
precluded from executing the relevant laws of the United
States in order to call members of the National Guard into
federal service, nor does it suggest that activation is
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inappropriate so long as any continued execution of the laws
is feasible.

On the other hand, we do not think that any minimal
interference with the execution of laws is, by itself, enough
to justify invoking § 12406(3). The statutory context
confirms that. Subsections one and two of the statute discuss
unusual and extreme  exigencies—invasions and
rebellions—that threaten the normal operations of civil
government. If we were to adopt the federal government’s
reading of subsection three, it would swallow subsections
one and two, because any invasion or rebellion renders the
President unable to exercise some federal laws. See Fischer
v. United States, 603 U.S. 480, 490 (2024) (“Congress would
not go to the trouble of spelling out [a list of terms] if a
neighboring term swallowed it up....”); Yates v. United
States, 574 U.S. 528, 543 (2015) (plurality opinion) (relying
“on the principle of noscitur a sociis—a word is known by
the company it keeps—to ‘avoid ascribing to one word a
meaning so broad that it is inconsistent with its
accompanying words, thus giving unintended breadth to the
Acts of Congress’” (quoting Gustafson v. Alloyd Co., 513
US. 561, 575 (1995))).

Under a highly deferential standard of review,
Defendants have presented facts to allow us to conclude that
the President had a colorable basis for invoking § 12406(3).
They presented evidence, detailed above, of protesters’
interference with the ability of federal officers to execute the
laws, leading up to the President’s federalization of the
National Guard on June 7. There is evidence that the day
before, protesters threw objects at ICE vehicles trying to
complete a law enforcement operation, “pinned down”
several FPS officers defending federal property by throwing
“concrete chunks, bottles of liquid, and other objects,” and
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used “large rolling commercial dumpsters as a battering
ram” in an attempt to breach the parking garage of a federal
building. Plaintiffs’ own submissions state that some
protesters threw objects, including Molotov cocktails, and
vandalized property. According to the declarations
submitted by Defendants, those activities significantly
impeded the ability of federal officers to execute the laws.

Affording appropriate deference to the President’s
determination, we conclude that he likely acted within his
authority in federalizing the National Guard under 10 U.S.C.
§ 12406(3).

2. Procedural Requirement of § 12406

Under § 12406, the President’s “[o]rders ... shall be
issued through the governors of the States.” The district
court determined that Defendants failed to comply with this
procedural requirement and that such failure meant that
Defendants exceeded the scope of their lawful statutory
authority.

Defendants argue that they complied with the procedural
requirement because (1) the President called Governor
Newsom about the situation in Los Angeles on June 6; and
(2) the Secretary of Defense sent the President’s
memorandum to California’s Adjutant General, along with
the Secretary’s memorandum that contained “Through: The
Governor of California” in its title, and the Adjutant General
forwarded both memoranda to Governor Newsom.
Defendants also argue that even if they erred as a technical
matter, any procedural error cannot justify the district court’s
injunction because the President is not legally required to
obtain the consent of the Governor, or to consult with him,
before calling the National Guard into federal service.
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Defendants’ actions likely met the procedural
requirement because the federalization order was issued
through an agent of the Governor in the Governor’s name.
Under California law, the Adjutant General “is chief of staff
to the Governor, subordinate only to the Governor and is the
commander of all state military forces.” CAL. MIL. & VET.
CopE § 160. The Adjutant General’s duties include
“issu[ing] all orders in the name of the Governor.” /d. § 163.
Plaintiffs do not dispute that California’s Adjutant General
received the memoranda from the Secretary of Defense,
relinquished command to the federal military accordingly,
and forwarded the memoranda to Governor Newsom.
Although Governor Newsom did not personally issue the
order relinquishing state command, § 12406 requires that the
President’s order be issued through the Governor, not
directly by the Governor. Nothing in § 12406 prevents the
State from delegating to a subordinate, such as the Adjutant
General, the Governor’s authority to issue such orders. See
Gonzales & Gonzales Bonds & Ins. Agency, Inc. v. U.S.
Dep’t of Homeland Sec., 107 F.4th 1064, 1075-76 (9th Cir.
2024) (explaining that express statutory authority is not
required for delegation to subordinates).

Even if the statute contemplated strict adherence to a
process that did not allow for delegation, the President’s
failure to issue the federalization order directly “through” the
Governor of California does not limit his otherwise lawful
authority to call up the National Guard. See Dolan, 546 U.S.
at 486 (“Interpretation of a word or phrase depends upon
reading the whole statutory text, considering the purpose and
context of the statute, and consulting any precedents or
authorities that inform the analysis.”).
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First, the text of § 12406 does not give governors any
veto power over the President’s federalization decision.*
The omission of an express consent requirement is telling, as
Congress provided governors with veto power in another
section of Title 10. See 10 U.S.C. § 12301(d) (However, a
member of the Army National Guard of the United States or
the Air National Guard of the United States may not be
ordered to active duty under this subsection without the
consent of the governor or other appropriate authority of the
State concerned.” (emphasis added)); Jama v. Immigr. &
Customs Enf’t, 543 U.S. 335, 341 (2005) (We do not lightly
assume that Congress has omitted from its adopted text
requirements that it nonetheless intends to apply, and our
reluctance is even greater when Congress has shown
elsewhere in the same statute that it knows how to make such
a requirement manifest.”).

Similarly, Plaintiffs’ argument that the text requires,
“Talt a minimum,” that the Governor be “consulted about an
order” is not supported by the language of § 12406. Rather,
the decision to activate the National Guard under § 12406 is
textually committed to the President alone. See 10 U.S.C.
§ 12406 (“[T]he President may call into Federal service
members and units of the National Guard... .” (emphasis
added)). Even with the requirement that such orders be
issued “through the governor[],” id., that provision does not
grant the governor any “consulting” role. It simply
delineates the procedural mechanisms through which the
President’s orders are issued.

4 The district court correctly acknowledged that nothing in § 12406
requires the President to obtain a governor’s consent or approval before
lawfully calling in the National Guard.
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Second, the purpose and context of § 12406 suggest that
the statute’s procedural requirement does not affect the
President’s authority to federalize the National Guard. As
discussed above, § 12406 delegates to the President part of
Congress’s constitutional authority to “call[] forth the
Militia to execute the Laws of the Union, suppress
Insurrections and repel Invasions.” U.S. Const. art. I, § 8,
cl. 15. The President’s power under § 12406 is similar to his
authority under the statute analyzed in Martin, which
described the necessity of “prompt and unhesitating
obedience” to fulfill the statute’s purpose. 25 U.S. at 30. In
that context, we think it unlikely that Congress would have
enacted a procedural requirement giving the Governor
effective veto power over the President’s otherwise lawful
orders.

In any event, even if Defendants failed to comply with
the statute’s procedural requirement, such failure would not
justify the injunctive relief imposed by the district court.
Assuming arguendo that Plaintiffs were likely to prevail on
their claim that Defendants violated the statute’s procedural
requirement, the proper remedy would be injunctive relief
tailored to Defendants’ failure to issue the order through the
Governor—not an injunction prohibiting the President from
exercising his lawful authority to call up the National Guard.
See Winter v. Nat. Res. Def: Council, Inc., 555 U.S. 7, 32-
33 (2008) (explaining that injunctive relief must be tailored
to the alleged violation). At most, such tailored relief would
be an injunction directing the President to send the relevant
memoranda directly to the Governor.

In sum, Defendants likely complied with § 12406’s
procedural requirement because California’s Adjutant
General exercised delegated authority under state law and
issued the order in the Governor’s name. Even if Defendants
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failed to comply with § 12406’s procedural requirement,
Governor Newsom had no power to veto or countermand the
President’s order. Thus, Defendants are likely to prevail on
this claim because the alleged procedural violation has no
effect on President Trump’s authority under § 12406 and
does not justify the current scope of the injunction imposed
by the district court.*

B. Remaining Stay Factors

In addition to the merits, we consider three other factors
in assessing a motion for a stay: “whether the applicant will
be irreparably injured absent a stay”; “whether issuance of
the stay will substantially injure the other parties interested
in the proceeding”; and “where the public interest lies.”
Nken, 556 U.S. at 426 (quoting Hilton, 481 U.S. at 776). The
last two factors “merge when the Government is the
opposing party.” Jd. at 435.

Both irreparable harm and the public interest weigh in
favor of Defendants, who have an uncontested interest in the
protection of federal agents and property and the faithful
execution of law. See Index Newspapers, 977 F.3d at 838.
The undisputed facts demonstrate that before the
deployment of the National Guard, protesters “pinned down”
several federal officers and threw “concrete chunks, bottles

5 As noted, the district court’s determination that Plaintiffs were likely to
succeed on their Tenth Amendment claim rested, at least in part, on its
conclusion that the President exceeded his scope of authority under
§ 12406. Because we conclude that it is likely that the President properly
exercised his authority under § 12406(3) based on the circumstances
before us, and Plaintiffs do not make any alternative Tenth Amendment
arguments in response to the stay motion, we also conclude Defendants
have made a strong showing that the TRO could not issue based on
Plaintiffs’ likelihood of succeeding on their Tenth Amendment claim.
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of liquid, and other objects” at the officers. Protesters also
damaged federal buildings and caused the closure of at least
one federal building. And a federal van was attacked by
protesters who smashed in the van’s windows. The federal
government’s interest in preventing incidents like these is
significant. See United States v. Bader, 698 F.2d 553, 555
(1st Cir. 1983) (“It is well established that the need to
safeguard the normal functioning of public facilities is a
‘substantial government interest’ ....”); United States v.
Shiel, 611 F.2d 526, 528 (4th Cir. 1979) (“The legitimacy of
the government’s interest, in the abstract, of insuring the
public’s compliance while in or on government property
with proper directions of law enforcement officers ... [is]
apparent.”); cf. Inre Neagle, 135 U.S. 1, 59 (1890).

Plaintiffs argue that the public interest weighs against
issuing a stay because permitting the use of the National
Guard here would upset the constitutional balance of power
between federal and state government. While we recognize
that significant interests of Plaintiffs are implicated here,
Plaintiffs’ argument is, in essence, a merits argument that we
have already resolved. The Constitution assigns the power
to “call[] forth the Militia” to Congress, and Congress has
delegated portions of that power to the President. US.
ConsT. art. I, § 8, cl. 15. As discussed, under the facts before
us, we disagree that Defendants have clearly exceeded the
scope of their statutory authority, so they are acting in
accordance with the constitutional federal-state balance.

Expressing concern about what they describe as
“defendants’ nearly limitless conception of Section 12406,”
Plaintiffs argue that this case “marks the first time that a
President has invoked Section 12406 to order troops to patrol
the streets of a major American city in support of routine
civil law enforcement activities—while civil law
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enforcement officials at the local, state, and federal level all
remain available and are doing that work.” We emphasize,
however, that our decision addresses only the facts before
us. And although we hold that the President likely has
authority to federalize the National Guard, nothing in our
decision addresses the nature of the activities in which the
federalized National Guard may engage. Before the district
court, Plaintiffs argued that certain uses of the National
Guard would violate the Posse Comitatus Act, 18 U.S.C.
§ 1385. The district court found that claim to be premature,
and Plaintiffs have not renewed it before us. We express no
opinion on it.

Plaintiffs also urge that the public interest is in their favor
because the “continued presence of National Guard
members” in Los Angeles “risks worsening, not improving,
tensions on the ground” and the federalization of the
National Guard “impairs the Guard’s ability to perform
critical functions for the State,” including support for
fighting forest fires and combatting drug trafficking. These
concerns are counterbalanced by the undisputed fact that
federal property has been damaged and federal employees
have been injured, and the evidence presented in the TRO
hearing showed that the federalized National Guard
members were engaged only in protecting federal personnel
and property. Additionally, at least with respect to the issues
presented here, Plaintiffs’ concerns have more bearing on
the question of whether the President should have
federalized the California National Guard, not whether he
had the authority to do so under § 12406. We also note that
California’s concerns about escalation and interference with
local law enforcement, at present, are too speculative. We
do not know whether future protests will grow due to the
deployment of the National Guard. Cf Murthy v. Missouri,
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603 U.S. 43, 72 (2024) (“In these circumstances, [Plaintiffs]
cannot rely on ‘the predictable effect of Government action
on the decisions of third parties’; rather, [they] can only
‘speculat[e] about the decisions of third parties.’” (third
alteration in original) (quoting Dep’t of Com. v. New York,
588 U.S. 752, 768 (2019))). And we do not know what
emergencies may occur in California while the National
Guard is deployed. Accordingly, at this time and on these
facts, the remaining stay factors weigh in favor of
Defendants.

V. CONCLUSION

For the reasons above, we GRANT Defendants’ motion
for a stay pending appeal.
